Case 3:16-md-02738-MAS-RLS Document 11479 Filed 12/12/19 Page 1 of 2 PageID: 102749




                            UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF NEW JERSEY


    IN RE JOHNSON & JOHNSON “BABY
    POWDER” and “SHOWER TO SHOWER”
    MARKETING, SALES PRACTICES AND
    PRODUCTS LIABILITY LITIGATION
                                                                 MDL NO. 2738 (FLW) (LHG)
    THIS DOCUMENT RELATES TO:

    Mary Buckles vs. Johnson & Johnson, et al.
    Case No.: 3:18-cv-14603




                                         NOTICE OF FILING

           Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

    Complaints) that a Short Form Complaint and Jury Demand has been filed on behalf of Plaintiff,

    Mary Buckles.

           This 12th day of December 2019.

                                                       Respectfully submitted,

                                                       ONDERLAW, LLC

                                                 By:   /s/ Stephanie L. Rados
                                                       James G. Onder, #38049 MO
                                                       William W. Blair, #58196 MO
                                                       Stephanie L. Rados, #65117 MO
                                                       110 E. Lockwood, 2nd Floor
                                                       St. Louis, MO 63119
                                                       314-963-9000 telephone
                                                       314-963-1700 facsimile
                                                       onder@onderlaw.com
                                                       blair@onderlaw.com
                                                       rados@onderlaw.com
Case 3:16-md-02738-MAS-RLS Document 11479 Filed 12/12/19 Page 2 of 2 PageID: 102750




                                         Certificate of Service

           The undersigned hereby certifies that this document was filed and electronically served by
    way of the Court’s electronic filing system this 12th day of December 2019.


                                                        /s/ Stephanie L. Rados
